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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,
    v.                                           Case No. 1:20-cv-03010-APM

    GOOGLE LLC,                                  HON. AMIT P. MEHTA

                              Defendant.

    STATE OF COLORADO, et al.,

                                Plaintiffs,
                                                 Case No. 1:20-cv-03715-APM
    v.
                                                 HON. AMIT P. MEHTA
    GOOGLE LLC,

                              Defendant.



                             BRIEF OF AMICI CURIAE
                         ALPHABET WORKERS UNION-CWA1




1
  Alphabet Workers Union-CWA filed its Motion for Leave to File an Amicus Brief on April 25,
2025 as ECF No. 1230. No Party has opposed the Motion. The Motion is still pending before
the Court. Alphabet Workers Union-CWA files this Brief to meet the Court’s May 9, 2025
deadline for the filing of amicus briefs. See ECF No. 1201.
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                       CORPORATE DISCLOSURE STATEMENT

        Pursuant to LCvR 7(o)(5) and Fed. R. App. P. 29(a)4)(A) and 26.1(a), the Alphabet

Workers Union-CWA (“AWU-CWA”) is a local union of the Communications Workers of

America (“CWA”). Both AWU-CWA and CWA are unincorporated associations and a labor

organizations. They have no stock, and therefore no publicly held company owns 10% or more of

their stock.


Dated: May 9, 2025                             /s/ Allen Grunes
                                              Allen Grunes (D.C. Bar No. 989298)

                                              Counsel to Alphabet Workers Union-CWA




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                    STATEMENT OF INTEREST OF AMICUS CURIAE

       Alphabet Workers Union-CWA (“AWU-CWA”)2 is a minority union3 engaged in

organizing workers at Alphabet Inc. (“Alphabet”), its subsidiaries including Defendant Google

LLC (“Google”), and vendors providing contract labor to the company. AWU-CWA is a local

union of Communications Workers of America (“CWA”), the largest communications and media

labor union in the United States. AWU-CWA seeks to advocate on behalf of workers at Alphabet

and, where possible, represent workers as their exclusive collective bargaining agent.

       AWU-CWA membership includes over 1,000 full-time Google employees, temporary

Google employees, individuals employed by Google vendors such as Accenture, and independent

contractors in the United States. These individuals hold a wide variety of roles at Google and its

subcontractors, including software engineers, data labelers, data center technicians, graphic

designers, and salespeople. AWU-CWA members engage in workplace activism, education,

organizing, and other forms of advocacy to improve working conditions, encourage freedom of

expression, and enhance job security for all Google employees.

       AWU-CWA has successfully advocated for its members since its founding in 2021. Its

victories include the following: (1) three groups of workers at Google vendors filed for and won

union elections, with one of those achieving a first collective contract with Google vendor

Accenture in 2024; (2) workers at Google vendor Appen won a raise through an AWU-CWA

petition campaign; and (3) an AWU-CWA campaign for job security successfully sought voluntary

buyouts before layoffs, which have been offered to over 30,000 Google workers this year.



2
  No party, or counsel for a party, authored this brief in whole or in part, and no person or entity
other than AWU-CWA, CWA, its counsel, or its members made a monetary contribution intended
to fund the brief’s preparation or submission.
3
  A minority union is a labor organization that has not yet won exclusive representation or
collectively bargained contracts for much of the workforce.

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Additionally, and of particular relevance here, after Google sent a company-wide email directing

Google employees to refrain from commenting on this antitrust litigation, AWU-CWA filed an

unfair labor practice charge with the National Labor Relations Board (“NLRB”) and obtained a

negotiated agreement in which Google rescinded what amounted to a gag order on its employees.

       AWU-CWA respectfully requests the Court to include robust protections in the Final

Judgment both to prevent retaliation against workers and to protect worker concerted activity. The

union made recommendations on worker protections to the U.S. Department of Justice (“DOJ”) as

to the government’s proposed remedies and has publicly invited Google to engage with its

members concerning effective antitrust remedies. AWU-CWA is concerned that Google may use

the Final Judgment in this case to weaken worker bargaining power and as cover for anti-union

action. It files this Amicus brief to provide the Court with insight into how the potential remedies

in this case may impact its membership, and labor in general, in hopes that it will assist the Court

in crafting remedies that adequately consider Google workers and create a culture of compliance.

                INTRODUCTION AND SUMMARY OF THE ARGUMENT

       More than 1,000 AWU-CWA members earn their livelihoods through their work for

Google. The Final Judgment in this action, which may include divestitures, the termination of

distribution contracts, and the syndication of search data, could considerably impact member jobs.

       No matter what remedies this Court ultimately orders, worker engagement will be essential

to the effective implementation of, and compliance with, the Final Judgment. First, meaningful

mechanisms for confidential reporting and anti-retaliation protections to supplement existing laws

are needed to protect and encourage workers’ participation and restore a culture of compliance at

Google. Nothing evidences this more than the dramatic transformation that has happened within

Google’s internal culture—sliding from one that once celebrated employee voices to one marked

by speech suppression, including the chilling effect of the company’s response to this antitrust

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litigation. Second, AWU-CWA’s members are uniquely positioned to play a vital role in the

ongoing monitoring of Google’s conduct. The presence of a unionized workforce has historically

increased compliance with existing laws and is often an untapped resource for antitrust

compliance. Collective action by Google workers should be protected and encouraged. Third,

although AWU-CWA takes no position on whether this Court should order any divestitures, a

divestiture remedy should include worker protections. Divestitures historically have enabled

companies to cut jobs, reduce benefits, and decrease worker bargaining power.

       Accordingly, the Court should incorporate strong worker protections into the Final

Judgment—not only to ensure its successful implementation but also to restore a culture of

accountability within Google.

                                          ARGUMENT

       I.      Anti-Retaliation Protections for Google’s Workers Are Critical to the Final
               Judgment’s Implementation.

       AWU-CWA’s members and their co-workers can, and should be, a resource for antitrust

compliance. But despite Google workers being uniquely positioned to help ensure corporate

compliance with the antitrust laws, see infra § II, Google has repeatedly discouraged internal

discourse related to this case and engaged in speech suppression.            Robust anti-retaliation

provisions are therefore critical to a successful remedy.

               a. Google’s Shift from a Culture That Encouraged Employees To Speak Up
                  To One of Speech Suppression.

       Google has a track record of suppressing worker speech. Discussion of some topics, like

antitrust and unfair competition, have been explicitly prohibited. In other areas, the company has

retaliated against workers who raise concerns about the company’s employment and business

practices. Both explicit and implied silencing contribute to a culture of concealment, evidenced

by the company’s potentially sanctionable conduct in this case of allegedly engaging in systematic


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destruction of documents, misusing of attorney client privilege, and directing its employees to

avoid “certain antitrust buzzwords.” United States v. Google LLC, 747 F. Supp. 3d 1, 185–88

(D.D.C. 2024) (describing Plaintiffs’ contentions that because of Google’s chat-deletion policy,

“years’ worth of chats—likely full of relevant information—were destroyed”).

       Google’s current reputation lies in stark contrast to its past ethos and how it originally

treated its employees. In its early days, Google had a well-known motto, “Don’t be evil.” Its 2008

Code of Conduct stated this motto “generally appli[ed] to how we serve our users. But ‘Don’t be

evil’ is much more than that. . . . [I]t’s also about doing the right thing more generally – following

the law, acting honorably and treating each other with respect.”4 Based in part on this motto,

Google’s employees engaged in open discussions, even of controversial topics, during internal

meetings and on online message boards.5

       Despite the early intentions, Google has recently amassed a well-documented record of

suppressing employee speech, including on three separate occasions by Kent Walker, Google’s

President of Global Affairs, on noteworthy dates associated with this case. On October 20, 2020,

the same day the DOJ filed this lawsuit, Walker urged employees to “not [] get distracted by this

process, including not speculating on legal issues internally or externally.”6 Walker then reiterated

this directive as the trial commenced on September 12, 2023, advising employees to “refrain from

speculating or commenting on this (or any legal case), internally or externally.”7 Finally, when



4
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https://web.archive.org/web/20080228205246/http://investor.google.com/conduct.html.
5
  Shirin Ghaffary, Google is cracking down on its employees’ political speech at work, Vox (Aug.
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  Hugh Langley, Leaked email shows Google’s top lawyer telling employees to ‘refrain from

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this Court issued its August 5, 2024 Order, Walker once more instructed employees to “refrain

from commenting on this case, both internally and externally.”8

       These directives from a Google executive not only infringed upon employees’ protected

rights to free speech but also reinforced that Google is unreceptive to employees raising concerns

about Google’s potentially unlawful activities. In response, AWU-CWA filed an unfair labor

practice charge with the NLRB, alleging that Walker’s emails violated employees’ Section 7 rights

under the National Labor Relations Act (“NLRA”).9 AWU-CWA contended that Google’s broad

prohibition on discussing the case, particularly regarding the potential impact of antitrust remedies,

was unlawful because discussions pertaining to wages and working conditions are protected under

the NLRA.10 Recognizing the merit of these allegations, Google settled on March 24, 2025, and

agreed to email all employees and former employees employed as of August 5, 2024, a copy of

the settlement agreement and a statement affirming that it would not restrict workers’ rights to

discuss how the antitrust suit may affect their terms and conditions of employment.11 The email

sharing the notice to employees per the settlement was nonetheless cryptic, referring only to the

NLRB case number and not directly referencing its antitrust content. The delivery of this

communication stands in stark contrast to Walker’s direct emails.




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2025), https://www.nlrb.gov/case/32-CA-348577.

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       In addition to these directives, Google has repeatedly reshaped norms about speech by

retaliating against employees who raise traditional employment concerns, such as anti-harassment

and anti-discrimination. Although Google has often justified the alleged retaliation on narrow

grounds related to the employees’ specific situations, there is a cumulative chilling effect that

discourages speaking up about employee rights and the company’s business practices. For

example, five workers who organized a nationwide Women’s Walkout held on November 1, 2018,

to highlight an internal culture that frequently rewarded and protected sexual harassers have since

alleged being managed out by having the number of employees reporting to them cut in half or

being disallowed to contribute to particular projects.12 Similarly, Google worker Chelsea Glasson

alleged pregnancy discrimination in an internal memorandum leaked to the press in August 2019.13

She eventually settled,14 but not before Google demanded her mental health records from

employer-sponsored counseling sessions.15 These allegations are even more concerning given

Google’s surveillance of worker communications.16



12
   Nitasha Tiku, Most of the Google Walkout Organizers Have Left the Company Most of the
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       Taking to heart the company’s putative commitments to ethical corporate behavior, Google

workers have also sought to raise concerns about company business practices, only to be later

terminated. On November 25, 2019, Google fired four workers—the “Thanksgiving Four”—after

they spoke out internally regarding Google’s hiring of a union avoidance firm and Google’s

relationship with U.S. Customs and Border Patrol.17 The NLRB subsequently accused Google of

violating the NLRA by terminating the employees, and the case went to trial with at least one

former employee settling with Google.18 In late 2020, Google demanded Dr. Timnit Gebru remove

herself and other Google employees as co-authors of a paper that was critical of Large Language

Models because they learn by analyzing text that include biased and sometimes hateful language.19

After she refused, Google terminated both her and her fellow team lead, Margaret Mitchell, who

had internally alleged discrimination against Dr. Gebru.20 And in April 2024, Google fired its

employees who participated in a protest against the company’s contracts with the Israeli

government.21 They subsequently filed a complaint under the NLRA.22

       Google’s reliance on subcontracting work to temporary employees, vendors, and

contractors to conduct its business further erodes the culture. Of Alphabet’s global workforce of



17
   Dave Lee, ‘Thanksgiving Four’ say Google is punishing them, BBC (Nov. 25, 2019),
https://www.bbc.com/news/technology-50554931.
18
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fired over workplace activism, a report say, Business Insider (Sep. 9, 2021, at 6:04 am MT),
https://www.businessinsider.com/google-settlement-laurence-berland-nlrb-calendar-union-
workplace-activism-bloomberg-2021-9.
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Highlighting Bias in A.I., New York Times (Dec. 3, 2020),
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22
   Id.

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more than 400,000 workers, over 50 percent have been subcontracted in some manner.23 This

employment model allows it to extract greater profits through lower wages, and to flexibly cut or

downsize contracts when facing unwanted speech or unionization efforts. For example, AWU-

CWA filed for and won union recognition elections for two units of subcontracted workers and

had Google ruled a joint employer, only to see the workers’ contracts eliminated or downsized.24

       Google’s multiple methods of speech suppression have caused workers to not feel safe

raising concerns about anticompetitive behavior. Given this backdrop, and as discussed in detail

below, an effective Final Judgment should include robust worker protections that affirm, support,

and encourage workers’ abilities to act individually or collectively without fear of retaliation.

               b. Robust Anti-Retaliation Provisions Are Critical to Ensuring Companies
                  Promote a Culture of Compliance and Comply with U.S. Antitrust Laws
                  and Antitrust Judgments.

       Google’s workers occupy a unique vantage point within the company. They often have

access to internal operations and information, including information relevant to antitrust

compliance, that is inaccessible to outsiders. Such specialized knowledge can be effectively

tapped only if there are mechanisms in place that both encourage and protect the right to speak up.

Robust anti-retaliation policies are necessary. When workers feel secure in reporting violations or

engaging in collective action, companies are more likely to adhere to antitrust laws and judgments.

       Anti-retaliation provisions are not novel. Several existing laws recognize the importance


23
   Daisuke Wakabayashi, Google’s Shadow Work Force: Temps Who Outnumber Full-Time
Employees, New York Times (May 28, 2019),
https://www.nytimes.com/2019/05/28/technology/google-temp-workers.html.
24
   In re Cognizant Tech. Solutions U.S. Corp. and Google, LLC, Joint Employers, Case No. 16-
CA-326027, Board Decision (Jan. 1, 2024), https://www.nlrb.gov/case/16-CA-326027; In re
Accenture d/b/a AccentureFlex; Google, LLC/Alphabet, Inc. (as joint employers), Case No. 20-
RC-319743, Decision and Direction of Election (Sep. 21, 2023), https://www.nlrb.gov/case/20-
RC-319743; Steve Dent, Google contract workers accuse Alphabet and Accenture of violating
labor laws, Engadget (Aug. 4, 2023), https://www.engadget.com/google-contract-workers-
accuse-alphabet-and-accenture-of-violating-labor-laws-085100869.html.

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of offering protections and incentives to encourage would-be whistleblowers. For instance, the

Criminal Antitrust Anti-Retaliation Act (“CAARA”), which Congress passed in 2019, promotes

whistleblowing by providing substantial protections to individuals who disclose violations. 15

U.S.C. § 7a-3. CAARA safeguards employees from retaliation when they engage in protected

activities, such as reporting violations of criminal antitrust laws and other criminal offenses linked

to potential antitrust violations, or cooperating with the DOJ’s investigation into possible criminal

antitrust violations. Id. Similarly, the Securities and Exchange Act of 1934, as amended by the

Dodd-Frank Act, encourages individuals with unique insight and knowledge into a company, such

as its employees, to report securities violations by offering them confidential mechanisms to report,

protections against retaliation, and large payouts. 15 U.S.C. §§ 78u-6(b),(h)(1), (h)(2). As of

2023, the SEC has awarded nearly 400 whistleblowers payouts.25 Unsurprisingly, 62 percent of

the whistleblowers who received awards from the SEC were insiders.26

       Protecting whistleblowers and training employees, though necessary for compliance, are

not sufficient. Rather, there must be a compliance culture so that workers feel secure enough to

raise concerns without being viewed as “whistleblowers.” As Brent Snyder, former Deputy

Assistant Attorney General for the Antitrust Division, stated: “[T]rue compliance . . . is not

optional, and is part of the company’s culture.”27 A compliance culture depends on the perception

(and reality) that workers will be heard when they raise concerns. Given Google’s recent history

of suppressing worker speech in multiple contexts, successful implementation of the remedies in



25
   Office of the Whistleblower, SEC, Securities Whistleblower Incentives and Protections,
https://www.sec.gov/enforcement-litigation/whistleblower-program (last visited May 4, 2025).
26
   Office of the Whistleblower, SEC, Annual Report to Congress for Fiscal Year 2024 (Nov. 15,
2024) https://www.sec.gov/files/fy24-annual-whistleblower-report.pdf (“In FY 2024, of the
whistleblowers who received awards, … approximately 62% were insiders.”).
27
   Brent Snyder, Deputy Assistant Att’y Gen., U.S. Dep’t Justice, Antitrust Div., Compliance is a
Culture, Not Just a Policy, 9 (Sep. 9, 2014), https://www.justice.gov/atr/file/517796/download.

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this case depends on reestablishing this culture. Collective action by workers through a union can

encourage workers to come forward, including those who are reluctant to be the only voice.28

       Guidance from the DOJ’s Antitrust Division regarding what constitutes an effective

antitrust compliance program is particularly relevant. U.S. Department of Justice, Antitrust

Division, Evaluation of Corporate Compliance Programs in Criminal Antitrust Investigations

(Nov. 2024), https://www.justice.gov/atr/media/1376686/dl?inline (hereinafter “the DOJ

Guidance”).29 The DOJ Guidance recognizes the importance of employee participation in antitrust

compliance and that employee involvement can be encouraged through the appropriate corporate

culture, proper training, confidential reporting mechanisms, and anti-retaliation protections. Id. at

2 (noting that although the guidance is “focused on criminal risk, a well-designed antitrust

compliance program should also minimize risk of civil antitrust violation”).

       The DOJ Guidance specifically highlights the important role of company culture. It

instructs that “[a]n effective compliance program will ‘promote an organizational culture that

encourages ethical conduct and a commitment to compliance with the law,’” id. I.B.2 (quoting

U.S.S.G. § 8B2.1(a)), which requires senior leadership to support the compliance program in such

a way that “employees [are] ‘convinced of the corporation’s commitment to [the compliance

program],’” id. (quoting JM § 9-28.800). The compliance program should also be integrated into

the company’s business, accessible to its employees, and clearly address what an employee should

do when they believe an activity is potentially unlawful. Id. I.B.1, 5.

       In addition to culture, an effective compliance program must include “reporting




28
   Steven Greenhouse, Creating a Stronger Voice for Workers, The Century Foundation (Mar. 27,
2024), https://tcf.org/content/commentary/creating-a-stronger-voice-for-workers/.
29
   See also Snyder, supra note 28, at 7 (“Effective compliance programs prevent antitrust
violations.”).

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mechanisms that employees can use to report potential antitrust violations anonymously or

confidentially and without fear of retaliation.” Id. § I.B.7; see also U.S.S.G. § 8B2.1(b)(5)(C) (an

effective compliance program will have in place a well-publicized “system, which may include

mechanisms that allow for anonymity or confidentiality, whereby the organization’s employees

and agents may report or seek guidance regarding potential or actual criminal conduct without fear

of retaliation”). To ensure that the entire company is committed, it must provide all of its workers

with “the opportunity to report anonymously and seek guidance … without fear of retaliation.”30

          The history of the Live Nation antitrust litigation is particularly instructive. Although the

DOJ obtained a consent decree in 2010 as part of Live Nation’s acquisition of Ticketmaster that

specifically prohibited retaliation against venue owners for not using the company’s ticket

services, see United States v. Ticketmaster Ent., Inc., 1:10-CV-00139, 2010 WL 5699134 (D.D.C.

July 30, 2010), Live Nation allegedly repeatedly violated this and other provisions. The court

entered an amended final judgment in 2020, see United States v. Ticketmaster Ent., Inc., No. 1:10-

CV-00139-RMC, 2020 WL 1061445 (D.D.C. Jan. 28, 2020), which specifically required (1)

monitoring of compliance via a court-appointed “Independent Monitoring Trustee” and an

“Antitrust Compliance Officer” employed by defendants, id. § XVII.A–B; (2) training for

employees, id. § XVII.B.3; (3) confirmation that employees may disclose violations without

reprisal, id.; and (4) a whistleblower protection policy for antitrust violations, id. § XVII.D.1.d.

          Nevertheless, according to the DOJ, even with the strengthened compliance program, the

company’s culture apparently did not change. The DOJ filed a separate complaint last year,

seeking the break-up of Live Nation, in part because the amended judgement “failed to restrain

Live Nation and Ticketmaster from violating . . . antitrust laws in increasingly serious ways.”



30
     Snyder, supra note 26, at 5.

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United States v. Live Nation Ent., Inc., Case No. 1:24-cv-03973 (S.D.N.Y.). Live Nation presents

a cautionary tale that reinforces the importance of a compliance culture in effectuating remedies.

               c. The Parties’ Proposed Remedies Are Insufficient.

       The parties’ Proposed Final Judgments lack the necessary anti-retaliation provisions for

worker collective action, particularly in light of Google’s history of suppressing worker speech,

and are insufficient to create a compliance culture at Google.

       Google’s Proposed Final Judgment unsurprisingly would impose minimal constraints on

its operations. See generally Def.’s Proposed Final Judgment, ECF No. 1108-1. While it would

limit the conditions Google can include in agreements with certain third parties, mandate an

undefined annual compliance report, allow Plaintiffs to request an additional interim annual report,

and require Google to designate a compliance officer for third-party complaints regarding

compliance, id. §§ III, IV(A)–(C), it lacks any mechanism, anonymous or otherwise, for

employees, as opposed to third parties, to report compliance issues. Further, although Google’s

proposal would permit Plaintiffs to interview employees to confirm the compliance report’s

accuracy, see id. § IV.A.3.c, it contains no anti-retaliation protections for those employees.

       Plaintiffs’ Revised Proposed Final Judgment, although it envisions more significant

protections, does not go far enough in protecting workers. See generally ECF No. 1184-3. Similar

to the addition to the Live Nation amended judgment, to assist with monitoring and enforcement

of the judgment, Plaintiffs’ proposal would establish a “Technical Committee” and require Google

to appoint a compliance officer responsible for employee training. Id. § X. It also provides some

protections and confidential reporting mechanisms for Google’s workers to raise potential

violations. See id § X.B.4(g) (confidential avenue for reporting violations); id. § X.D (anti-

retaliation protections); id. § X.B.4(g) (annual reminders to workers). While these protections

provide a good starting point, they fall short of cultivating the necessary compliance culture.

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               d. The Final Judgment Should Include Robust Anti-Retaliation Provisions
                  that Protect All of Google’s Workers.

       Given that the remedies this Court ultimately orders will necessarily require the active

participation of Google’s workers, AWU-CWA respectfully asks this Court to include robust anti-

retaliation provisions, including provisions explicitly protecting worker collective action, to foster

their participation in ensuring compliance. See Int’l Salt Co. v. United States, 332 U.S. 392, 400–

01 (1947) (“[District courts] are invested with large discretion to model their judgments to fit the

exigencies of the particular case”); Zenith Radio Corp. v. Hazeltine Research, Inc., 395 U.S. 100,

131 (1969) (courts have authority to fashion remedies that are “flexible and capable of nice

‘adjustment and reconciliation between the public interest and private needs as well as between

competing private claims.’”) (quoting Hecht Co. v. Bowles, 321 U.S. 321, 329–30 (1944)).

       First, the Final Judgment should at minimum include provisions to protect whistleblowers

and provide training for Google workers so that they can monitor Google’s compliance and raise

concerns confidentially or anonymously. Specifically, the ordered remedies should:

           •   Compel Google to provide all workers with a copy of the Final Judgment and train
               them so that they understand it and relevant antitrust laws to assist with compliance;

           •   Require an express whistleblower policy, similar to the one ordered in Live Nation,
               that includes a confidential procedure for Google workers to report concerns31; and

           •   Mandate Google to otherwise establish confidential and/or anonymous reporting
               channels for its workers to submit complaints and raise concerns, including directly
               to any compliance officer or similar position.

       Second, and critically, the Final Judgment should include robust anti-retaliation protections

for Google workers so that their speech is not chilled, including:

           •   Provisions that protects workers who (i) voluntarily speak up, (ii) file a complaint,
               (iii) engage in concerted effort or union activity, or (iv) otherwise participate in


31
  See Hepner, supra note 15, at 20 (further arguing that “the Court should provide enforceable
prohibitions against whistleblower retaliation” in the Final Judgment).

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                interviews or assist Plaintiffs in ensuring Google complies with the Final Judgment;

           •    Prohibitions on Google placing restrictions in employment agreement on workers’
                ability to report violations, speak publicly, or engage in concerted activity32; and

           •    Requirements that Google clearly and repeatedly communicate to its workers that
                they will not be retaliated against and may speak out regarding complaints and
                concerns without fear of reprisal.

These anti-retaliation protections will be less effective if they do not specifically prohibit

retaliation against collective action by Google workers and union activity.

       Third, the Final Judgment should foster a culture of compliance at Google so that the Live

Nation failure is not repeated by:

            •   Creating a compliance program as set forth in the DOJ Guidelines that requires
                senior leadership to support the compliance program and integrates the program in
                to the company’s business;

            •   Obligating Google to inform all of its workers on at least an annual basis of the
                whistleblower policy, anti-retaliation provision in the Final Judgment, and the
                confidential reporting procedures; and

            •   Integrating the mechanisms that allow for anonymous or confidential reporting of
                violations without fear or retaliation into a well-publicized company system.

       Finally, these protections should apply to all Google workers, not just its full-time

employees. Because over half of Alphabet’s workforce consists of non-employees, it is critical

that all workers are confident that their efforts to ensure Google’s compliance will be met with

support rather than punitive measures.

       This Court has the discretion to craft a Final Judgment that not only remedies Google’s

monopolization but also prevents recurrence. See Fed. Trade Comm’n v. Nat’l Lead Co., 352 U.S.

419, 430 (1957) (“[T]he Court is obliged not only to suppress the unlawful practice but to take



32
  See id. (analyzing this lawsuit and arguing that “as a prophylactic measure, the Court should
prohibit Google from imposing any term of employment that restricts workers from cooperating
with law enforcement efforts or from speaking publicly about potential illegal conduct”).

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such reasonable action as is calculated to preclude the revival of the illegal practices.”); United

States v. Microsoft Corp., 253 F.3d 34, 101 (D.C. Cir. 2001) (the Court should fashion remedies

“so as to prevent future violations and eradicate existing evils.”). By including provisions that

help create an environment where all workers are encouraged to voice concerns and report

potential violations without fear of reprisal, the Final Judgment can help restore Google’s

workplace ethos and promote long-term lawful and ethical conduct.

       II.     With the Protection of Robust Anti-Relation Provisions, AWU-CWA and Its
               Members Can Be a Vital Resource In Effectuating the Relief In the Final
               Judgment and Restoring a Culture of Compliance at Google.

       Union workers have support from their coworkers to speak out regarding not only working

conditions but also compliance and matters of public interest. As detailed above, see supra § I.a,

AWU-CWA and its members have already enforced workers’ rights to freely discuss the impact

of this case on their working conditions and obtained an important settlement after filing an NLRB

charge. Armed with strong anti-retaliation provisions, AWU-CWA’s members are uniquely

positioned to provide ongoing monitoring and help restore a culture of compliance at Google.

       AWU-CWA’s role in antitrust enforcement is no accident. Unions have a rich history of

playing a governance role by protecting workers’ rights and supporting them as they speak out

about working conditions and other important matters.33 For example, unions empower workers

to address grievances and push for systemic changes that lead to a more just and equitable

workplace by ensuring whistleblower protections are respected and enforced. Indeed, the origins

of modern whistleblower protections can be traced to union workers on the railroads in the early



33
  See Kate Bahn & Carmen Sanchez Cumming, Unions and the Enforcement of Labor Rights:
How Organized Labor Protects U.S. Workers Against Unfair and Illegal Employment Practices,
Washington Center for Equitable Growth (Apr. 29, 2022), https://equitablegrowth.org/unions-
and-the-enforcement-of-labor-rights-how-organized-labor-protects-u-s-workers-against-unfair-
and-illegal-employment-practices/.

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20th century who exposed unsafe conditions that had caused workers’ deaths and endangered the

public.34 More recently, Wells Fargo bank workers, organizing with CWA, blew the whistle on

management demands that frontline workers open fake customer accounts to meet metrics.35

       Workers and their unions are thus an untapped resource for antitrust enforcement.36 While

labor unions, such as AWU-CWA, have been “one of government enforcement agencies’ most

effective partners in fostering compliance with labor standards,” “unions today can be effective

partners in ensuring government institutions protect workers and, in turn, foster equitable

economic growth.”37 In particular, “unions emphasize the need to treat workers and their unions

as the expert market participants they are, with an immense store of untapped knowledge and

experience.”38 Their workers “are most likely to know ‘where the bodies are buried’ in any given

transaction, and thus represent a previously untapped source of rich qualitative and quantitative

information on industrial and market conditions.”39

       A unionized workforce in particular can help ensure compliance with existing laws and

push for better ones.40 Studies have shown that unionized workers are more likely to enforce the

Occupational Safety and Health Act than nonunion workplaces because the presence of a union

increases the probability that employees will call for a workplace inspection by the Occupational



34
   See Sarah Milow, Gags and Grievance: The Labor Origins of Whistleblowing, Knight First
Amendment Center at Columbia University (Oct. 28, 2024),
https://knightcolumbia.org/content/gags-and-grievance-the-labor-origins-of-whistleblowing.
35
   See Committee for Better Banks, Campaign Backstory,
https://betterbanks.org/wfwu/campaign-backstory.
36
   Brian Callaci & Sandeep Vaheesan, Workers Are an Untapped Resource for Antitrust
Enforcers, The Sling (Oct.24, 2023), https://www.thesling.org/workers-are-an-untapped-
resource-for-antitrust-enforcers/.
37
   Bahn, supra note 32.
38
   Callaci, supra note 35 (quoting CWA’s point that “workers’ deep knowledge of their industry
is an invaluable input into the review process”).
39
   Id.
40
   Bahn, supra note 32.

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Safety and Health Administration and that inspectors provide increased supervision of workplace

conditions.41 Unionized workers likewise have been associated with greater adoption of mask

mandates during the COVID-19 pandemic in schools42 and nursing homes.43 And states with

greater union membership rates are more likely to introduce and pass legislation against wage theft

because unions provide advocates with the necessary political power.44

       Moreover, economic analysis indicates that collective bargaining through unionization

offers an important countervailing power to an employer with market power by structurally

changing the labor market and enabling workers to increase their wages and improve their working

conditions.45 “[U]nionization strengthens labor’s bargaining position and may enable employees

to diminish employers’ monopsony power.”46           Through a democratic process, collective

bargaining provides workers a means to negotiate legally binding agreements covering a variety

of topics, including wages; working conditions; guardrails for layoffs; and processes for workplace

governance, such as grievance procedures or workplace health and safety committees. Indeed,

research shows evidence of meaningful spillovers from collectively bargained wages to non-union




41
   David Weil, Enforcing OSHA: The Role of Labor Unions, 30 INDUSTRIAL RELATIONS 20
(Winter 1991).
42
   Adam Dean, et al., Iowa School Districts Were More Likely To Adopt COVID-19 Mask
Mandates Where Teachers Were Unionized, 40 HEALTH AFFAIRS 1270 (Aug. 2021).
43
   Adam Dean, et al., Resident Mortality And Worker Infection Rates From COVID-19 Lower In
Union Than Nonunion US Nursing Homes, 2020–21, 41 HEALTH AFFAIRS 751 (May 2022).
44
   Marc Doussard & Ahmad Gamal, The Rise of Wage Theft Laws: Can Community–Labor
Coalitions Win Victories in State Houses?, 52 URBAN AFFAIRS REVIEW 780 (Sep. 2016).
45
   See Bahn, supra note 32; see also Samuel Dodini, et al., The Dynamics of Power in Labor
Markets: Monopolistic Unions Versus Monopsonistic Employers, CESifo Working Paper No.
9495 (2021), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3998033.
46
   Efraim Benmelech, et al., Strong Employers and Weak Employees How Does Employer
Concentration Affect Wages?, 57 J. OF HUMAN RESOURCES S201 (Apr. 2022).

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workers47 and that higher union density mitigates the negative effects monopsony has on wages.48

“Modern labor-market regulation emerged from a congressional recognition that, to enable

workers to lift their wages and secure a more equal share of their contributions to economic growth,

it would need to restrain firms’ ability to consolidate economic power under the antitrust laws

while exempting and protecting workers’ collective coordination under the [NLRA].”49

       In short, AWU-CWA can assist in rebuilding and maintaining a compliance culture to

effectuate the Final Judgment and also improve the working conditions for all Google workers.

       III.    Any Court-Ordered Divestiture Should Include Worker Protections.

       AWU-CWA takes no position on what substantive remedies are appropriate in this case,

including whether divestitures should be ordered. However, experience teaches that if a divestiture

of Chrome or Android is ordered by the Court, there is significant need for worker protections.

Divestitures or “break-ups” historically have been used by companies as an excuse to eliminate

good jobs, reduce benefits, and reduce worker bargaining power.

       In the context of merger enforcement, the government has not generally considered the

impact on labor markets in crafting remedies.50 This is a mistake. The effect a remedy may have

on labor markets should be considered because Section 7 of the Clayton Act applies to any relevant

market, including labor markets. Indeed, “even where mergers are successfully challenged in

product markets under § 7, imposing any remedy for found violations would contravene the statute

were it to result in substantially lessening competition in a labor market.”51 While parties may


47
   Ihsaan Bassier, Collective bargaining and spillovers in local labor markets, Centre for
Economic Performance, No. 1895 (Dec. 2022), https://cep.lse.ac.uk/pubs/download/dp1895.pdf.
48
   Hiba Hafiz, Structural Labor Rights, 119 MICH. L. REV. 651, 664 (2021).
49
   Id.
50
   Hiba Hafiz, Rethinking Breakups, 71 DUKE L.J. 1491, 1507 (2022) (explaining that “effects on
labor markets must also be considered in drafting remedies for mergers challenged as having
anticompetitive effects in product markets”).
51
   Id. at 1506–07.

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claim that divestiture would reduce labor costs, lower labor costs also may reduce output resulting

to harms in both labor and product markets. Merger remedies should be crafted so that they do

not lessen competition in labor markets and degrade unions or union activity.

       In the context of enforcing Section 2 of the Sherman Act, the situation is the same. The

break up of the Bell System in the early 1980s provides an illustrative example. At the time, CWA

requested the court consider measures to preserve “continued national bargaining in

telecommunications following the reorganization of AT&T.”52 However, in its Tunney Act

opinion, the court disregarded the need to address workers’ interests and deemed CWA’s

comments not to be relevant to the divestiture’s purposes.        The convention of prioritizing

competition in consumer markets overrode CWA’s three decade fight to establish pattern

bargaining in the national telecommunications market.53

       The result was both predictable and devastating. In the decade following divestiture and

decimation of union representation in the long distance market, 200,000 jobs were eliminated, with

union density at AT&T falling from 62 to 25 percent from 1984 to 1995 as the company cut union

jobs, moved many technical jobs out of the bargaining unit, and walled off acquisitions and new

subsidiaries from union representation.54 An economic study that reviewed the effects of the

divestitures “found that the breakup of the Bell System ‘undermined the union’s power, in terms

of both membership levels and bargaining leverage’ and increased the ‘uncertainty facing the

union.’”55 In 1993, Keefe and Boroff described the fallout from the Bell System divestiture:



52
   Id. at 1540.
53
   Id. at 1536, 1540–41.
54
   See Debbie Goldman, Disconnected: Call Center Workers Fight for Good Jobs in the Digital
Age, University of Illinois Press (2024).
55
   Hafiz, supra note 49, 1541 (quoting Harry C. Katz, et al., The Revitalization of the CWA:
Integrating Collective Bargaining, Political Action, and Organizing, 56 INDUS. & LAB. RELS.
REV. 573, 575–76 (2003)).

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       From the standpoint of labor-management relations, this industrial restructuring is
       in jeopardy of severing the traditional link between high productivity growth
       through rapid technological change and increases in employee incomes and
       employment security. When compared to the decade prior to divestiture, post-
       divestiture productivity growth has fallen by one-half as networks are duplicated
       and many of the one million employees in the industry now face chronic insecurity,
       displacement, and stagnating incomes. Breaking the industry’s social contract
       through this uncoupling may have serious long term consequences for productivity,
       service quality, and stable labor-management relations.56

       Unless carefully structured, divestitures in this case may negatively impact workers and

union activity. There is an understandable temptation by a company to use a divestiture remedy to

its own advantage. If a divestiture is ordered here, there should be protections so it does not prevent

concerted activity by Google workers or AWU-CWA from obtaining formal union recognition.

                                          CONCLUSION

       The Final Judgment should strengthen, not weaken, the ability of Google’s workers to

engage in concerted action, enforce Google’s compliance, and prevent future anticompetitive

conduct. Accordingly, AWU-CWA respectfully requests that this Court issue a Final Judgment

that: (1) includes provisions to protect whistleblowers and provide training for all Google workers,

comprehensive anti-retaliation protections for all Google workers, and provisions that foster a

compliance culture so that Google’s workers can speak freely about working conditions, violations

of the Final Judgment, and potential antitrust violations; (2) takes into account the benefits a union

like AWU-CWA and its members may provide in the ongoing monitoring of Google’s conduct so

as to effectuate the relief in the Final Judgment and restore a culture of compliance at Google; and

(3) provides worker protections in the event a divestiture is ordered so as to protect against the

elimination of good jobs, reduction in benefits, and reduction in worker bargaining power.



56
  See Jeffrey Keefe and Karen Boroff, Telecommunications Labor-Management Relations After
Divestiture (in Contemporary collective bargaining in the private sector), Industrial Relations
Research Association series, (Dec. 1994).

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Dated: May 9, 2025




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                            CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing document complies with LCvR 7(o)(4) because it does

not exceed 25 pages and complies with the Court’s March 28, 2025 Amended Order that amicus

briefs shall be no more than 20 pages, double-spaced and shall be filed by May 9, 2025. See

ECF No. 1201.



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 9, 2025, I electronically filed a true and correct copy of the

foregoing document with the Clerk via the CM/ECF system which will send notification of such

filing and service upon all counsel of record.



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